Case 7:19-cr-00024-MFU Document 331-1 Filed 05/24/21 Page 1of1 Pageid#: 1167

CERTIFICATE. OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
PURSUANT TO FEDERAL. RULE OF EVIDENCE 902(11)

I, Dor inde Wivey _, attest under penalties of perjury (or criminal punishment

for false statement or false attestation) that I am employed by
Carilien Clinie. (business), and that'my official title fs

WLM. Site. nvr’. | am-a custodian of records for stich business.entity: U'state that
each of the records attached hereto { is the original record ora true duplicate ofthe original record
‘jn the.custody of CH pilien Clinie (riame of business from, which documents
are produced),-and that I am the custodian of the attached records consisting of Ly y
pages;

1 further.state that:
A. all records attached to this certificate were made: at of near the time of the eccurrence of
the matters set‘forth, by, or from information transmitted by, a person with knowledge-of those

‘matters:

B, such recone Were kept in the course of'a regularly conducted business activity of

 

 

ALion CUnice (business); -and
‘€. such récotds were niade by Conlionw Chi AAS. (Susiness) as a
regular practice,

I further state:that this certification is intended to satisfy Rule 902(11) of the FEDERAL
RULES OF EVIDENCE.

Date Signature

K/wlQora Doane DAs

 

GOVERNMENT
EXHIBIT

1

 

VAUGHN_018437
